ase 2:21-cv-00177-SRB      Document 110-1        Filed 12/31/24     Page 1 of 2




                           FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

         GRAND CANYON UNIVERSITY,                    No. 23-15124

                        Plaintiff-Appellant,      D.C. No. 2:21-cv-
                                                    00177-SRB
          v.

         MIGUEL A. CARDONA, in his                    OPINION
         official capacity as Secretary of the
         United States Department of
         Education; U.S. DEPARTMENT OF
         EDUCATION,

                        Defendants-Appellees.

                Appeal from the United States District Court
                         for the District of Arizona
                 Susan R. Bolton, District Judge, Presiding

                  Argued and Submitted January 24, 2024
                           Pasadena, California

                          Filed November 8, 2024

         Before: Daniel P. Collins, Danielle J. Forrest, and Jennifer
                           Sung, Circuit Judges.

                          Opinion by Judge Collins
ase 2:21-cv-00177-SRB         Document 110-1           Filed 12/31/24        Page 2 of 2
         2            GRAND CANYON UNIVERSITY V. CARDONA


                                   SUMMARY *


              Higher Education Act of 1965 / Administrative
                             Procedure Act

             The panel reversed the district court’s summary
         judgment in favor of the Department of Education in an
         action brought by Grand Canyon University (“GCU”)
         challenging the Department’s denial of GCU’s application
         to be recognized as a nonprofit institution under the Higher
         Education Act of 1965 (“HEA”).
             In considering GCU’s application, the Department
         concluded that even though GCU had satisfied the regulatory
         requirement to obtain 26 U.S.C. § 501(c)(3) recognition
         from the Internal Revenue Service as a tax-exempt
         organization, the Department would need to independently
         review whether GCU qualified as a § 501(c)(3)
         organization. The Department held that GCU’s organizing
         documents satisfied the relevant requirements of the
         organizational test, but GCU did not meet the operational
         test’s requirement that both the primary activities of the
         organization and its stream of revenue benefit the nonprofit
         itself.
             The panel held that the Department applied the wrong
         legal standards in evaluating GCU’s application, and that the
         Department’s legal error required that its decision be set
         aside. The Department invoked the wrong legal standards
         by relying on IRS regulations that impose requirements that
         go well beyond the HEA’s requirements and instead

         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
ase 2:21-cv-00177-SRB     Document 110-1        Filed 12/31/24     Page 3 of 2
                    GRAND CANYON UNIVERSITY V. CARDONA            3


         implement a portion of § 501(c)(3) that has no counterpart
         in the definition of the term “nonprofit” set forth in HEA
         § 103(13). The correct HEA standards required the
         Department to determine (1) whether GCU was owned and
         operated by a nonprofit corporation, and (2) whether GCU
         satisfied the no-inurement requirement. Because the
         Department failed to apply the correct legal standards, the
         panel reversed the judgment of the district court, and
         remanded with instructions to set aside the Department’s
         denials and to remand to the Department for further
         proceedings.



                                COUNSEL

         Steven Gombos (argued), David A. Obuchowicz, and Jacob
         Shorter, Gombos Leyton PC, Fairfax, Virginia; Kevin E.
         O’Malley and Hannah H. Porter, Gallagher & Kennedy PA,
         Phoenix, Arizona; for Plaintiff-Appellant.
         Casen B. Ross (argued) and Daniel Tenny, Attorneys,
         Appellate Staff, Civil Division; Gary M. Restaino, United
         States Attorney; Brian M. Boynton, Principal Deputy
         Assistant Attorney General; United States Department of
         Justice, Washington, D.C.; Toby Merrill, Deputy General
         Counsel; Lisa Brown, General Counsel; United States
         Department of Education, Washington, D.C.; for
         Defendants-Appellees.
ase 2:21-cv-00177-SRB         Document 110-1           Filed 12/31/24        Page 4 of 2
         4            GRAND CANYON UNIVERSITY V. CARDONA


                                     OPINION

         COLLINS, Circuit Judge:

             Grand Canyon University (“GCU”), a private university
         in Arizona, applied to the Department of Education (the
         “Department”) to be recognized as a nonprofit institution
         under the Higher Education Act of 1965 (“HEA”). The
         Department denied GCU’s application and adhered to that
         denial on GCU’s request for reconsideration. GCU then
         filed this action, alleging that the Department’s decisions
         were arbitrary and capricious under the Administrative
         Procedure Act (“APA”) and should be set aside. The district
         court granted summary judgment to the Department, and
         GCU has appealed. We reverse and remand.
                                          I
                                          A
             Through a variety of “loan and grant programs”
         administered by the Department under Title IV of the HEA,
         “Congress provides billions of dollars” each year “to help
         students pay tuition for their postsecondary education.”
         Association of Priv. Sector Colls. & Univs. v. Duncan, 681
         F.3d 427, 433 (D.C. Cir. 2012). To be eligible to “participate
         in Title IV programs,” a postsecondary school “must satisfy
         several statutory requirements.” Id. at 433–34. In particular,
         the school must meet HEA § 102(a)’s statutory definition of
         an “institution of higher education’” for purposes of Title IV.
         See 20 U.S.C. § 1002(a). 1 That definition includes both a

         1
          The HEA has generally been classified to Chapter 28 of the unenacted
         Title 20 of the United States Code. Its current text is available at
         <https://www.govinfo.gov/content/pkg/COMPS-765/pdf/COMPS-
         765.pdf>.
ase 2:21-cv-00177-SRB       Document 110-1         Filed 12/31/24       Page 5 of 2
                     GRAND CANYON UNIVERSITY V. CARDONA                5


         qualifying for-profit “proprietary institution of higher
         education,” id. § 1002(a)(1)(A), and a qualifying “public or
         other nonprofit institution,” id. § 1001(a)(4). Each school
         must also “enter into a program participation agreement”
         with the Department. Id. § 1094(a). The requirements for
         such an agreement are generally comparable for nonprofit
         and for-profit institutions, but there are some differences.
         See, e.g., id. § 1094(a)(24) (specifying that for-profit schools
         must “derive not less than ten percent of such institution’s
         revenues from sources other than” funds provided under
         Title IV).
              GCU has been a nonprofit school for most of its history.
         However, when GCU experienced significant financial
         trouble in the early 2000s, GCU sought to avoid bankruptcy
         by selling the school to private investors who would then
         operate GCU as a for-profit entity.            Following the
         completion of that sale, the school “was owned and operated
         by Grand Canyon Education, Inc. (‘GCE’), a Delaware
         publicly traded corporation.”         After GCU operated
         successfully as a for-profit institution for several years,
         GCU’s Board of Trustees decided that, for a variety of
         reasons, the school would seek to return to a nonprofit status.
         These reasons included the perceived academic and athletic
         competitive disadvantages of a for-profit school, as well as
         the desire to ensure that GCU would be able to keep its
         tuition rates low.
             Under the HEA and the Department’s implementing
         regulations, GCU’s reorganization as a nonprofit institution
         would require it to enter into a new program participation
         agreement and to establish that, after the transaction
         accomplishing the change, GCU met the HEA’s
         requirements to qualify as a nonprofit institution. 20 U.S.C.
         § 1099c(i)(1); 34 C.F.R. §§ 600.20(b)(2)(iii), 600.31(a)(3),
ase 2:21-cv-00177-SRB           Document 110-1             Filed 12/31/24           Page 6 of 2
         6              GRAND CANYON UNIVERSITY V. CARDONA


         668.14(g)(1). 2 Section 103(13) of the HEA contains the
         following definition of a “nonprofit” institution:

                     The term “nonprofit” as applied to a
                  school, agency, organization, or institution
                  means a school, agency, organization, or
                  institution owned and operated by one or
                  more nonprofit corporations or associations,
                  no part of the net earnings of which inures, or
                  may lawfully inure, to the benefit of any
                  private shareholder or individual.

         20 U.S.C. § 1003(13). The Department’s regulations track
         this statutory definition, but also add the further
         requirements that the school must be “authorized to operate
         as a nonprofit organization” under applicable state law and
         must qualify as a tax-exempt organization under § 501(c)(3)
         of the Internal Revenue Code (“IRC”). See 34 C.F.R.
         § 600.2.
             In an effort to comply with these requirements, GCU’s
         Board of Trustees established an Arizona nonprofit entity
         known as “Gazelle University” (“Gazelle”) and arranged for
         Gazelle to buy GCU back from GCE. The Gazelle-GCE
         transaction, which closed on July 1, 2018, was accomplished
         through three main documents: (1) an Asset Purchase
         Agreement, (2) a Credit Agreement, and (3) a Master
         Services Agreement (“MSA”). Under the Asset Purchase
         Agreement, GCE agreed to sell GCU to Gazelle for
         approximately $853 million. Under the Credit Agreement,
         GCE loaned Gazelle the purchase price, and the loan was

         2
           All citations to the Department’s regulations are to the version in effect
         in January 2021, when the Department denied GCU’s application on
         reconsideration.
ase 2:21-cv-00177-SRB       Document 110-1         Filed 12/31/24       Page 7 of 2
                     GRAND CANYON UNIVERSITY V. CARDONA                7


         secured by a first-priority lien on essentially all of Gazelle’s
         property and equitable interests. Under the MSA, Gazelle
         agreed to “outsource certain services to GCE,” and “in
         exchange,” GCE would receive, as service fees, “60% of the
         university’s adjusted gross revenues.” The MSA was to last
         for an initial term of 15 years, and unless terminated, the
         MSA would “automatically renew for successive five (5)
         year terms.” Gazelle could terminate the agreement after
         seven years of the initial term by providing GCE with written
         notice 18 months in advance, and it could likewise prevent a
         renewal by providing notice at least 18 months before the
         end of the then-current term. If Gazelle invoked its right not
         to renew the MSA, it had to pay GCE, by the end of the then-
         current term, a non-renewal fee that was equal to 50% of the
         service fees payable to GCE over approximately the last 12
         months of that current term.
                                        B
             After Gazelle was established as a nonprofit corporation
         but before the transaction with GCE was closed, Gazelle
         detailed the proposed transaction to the IRS in its application
         for tax-exempt status under § 501(c)(3). The IRS formally
         recognized Gazelle as a § 501(c)(3) tax-exempt organization
         on November 9, 2015. In the spring of 2018, state regulators
         in Arizona approved GCU’s bid to operate as a nonprofit
         university, effective upon the close of the Gazelle-GCE
         transaction. The relevant accrediting authorities also
         approved Gazelle’s proposed operation of GCU as a
         nonprofit university in March 2018.
             Meanwhile, on January 18, 2018, GCU submitted a
         request to the Department for a “pre-acquisition review” of
         the proposed transaction and for a determination that the
         Department would agree to reclassify GCU as a nonprofit
ase 2:21-cv-00177-SRB         Document 110-1            Filed 12/31/24         Page 8 of 2
         8             GRAND CANYON UNIVERSITY V. CARDONA


         institution for purposes of Title IV. After the Department
         failed to provide any pre-acquisition guidance, Gazelle and
         GCE nonetheless proceeded to close the transaction on July
         1, 2018. After the transaction closed, and Gazelle acquired
         the rights to GCU’s trademarked name, Gazelle changed its
         name to “Grand Canyon University.” While GCU’s request
         for reclassification remained pending, the Department
         provisionally allowed GCU to continue to participate in Title
         IV programs under the same conditions as before.
             By letter dated November 6, 2019, the Department
         denied GCU’s application to be recognized as a nonprofit
         under Title IV. The Department conceded in its letter that
         GCU met the regulatory requirements that it be an
         authorized nonprofit organization under Arizona law and
         that it have received recognition from the IRS as a tax-
         exempt § 501(c)(3) organization. See 34 C.F.R. § 600.2.
         But the Department concluded that GCU failed to meet the
         remaining requirement that it be “owned and operated by
         one or more nonprofit corporations or associations, no part
         of the net earnings of which benefits any private shareholder
         or individual.” Id.; see also 20 U.S.C. § 1003(13).
              In examining this issue, the Department concluded that
         it “requires a review of relevant authority under the Internal
         Revenue Code.”         That was true, according to the
         Department, because its regulatory “definition of a nonprofit
         institution mirrors the statutory language for tax exempt
         organizations found in 26 U.S.C. § 501(c)(3).” 3 The
         Department therefore concluded that, even though GCU had
         satisfied the regulatory requirement to obtain § 501(c)(3)
         recognition from “the U.S. Internal Revenue Service,” 34

         3
           As we discuss below, there are in fact significant differences in the
         relevant statutory language. See infra Section III(A).
ase 2:21-cv-00177-SRB      Document 110-1         Filed 12/31/24      Page 9 of 2
                     GRAND CANYON UNIVERSITY V. CARDONA              9


         C.F.R. § 600.2, the Department would need to independently
         review whether GCU qualified as a § 501(c)(3) organization
         under the applicable IRS regulations. Citing 26 C.F.R.
         § 1.501(c)(3)-1(a)(1), the Department stated that those
         regulations required GCU “to meet both an organizational
         test and an operational test.” The Department agreed that
         GCU’s organizing documents satisfied the relevant
         requirements of the “organizational test,” and it therefore
         turned to consider whether GCU satisfied the “operational
         test.”
             Under § 1.501(c)(3)-1(c)(1)’s operational test, “[a]n
         organization will be regarded as operated exclusively for one
         or more exempt purposes only if it engages primarily in
         activities which accomplish one or more of such exempt
         purposes specified in section 501(c)(3).” 26 C.F.R.
         § 1.501(c)(3)-1(c)(1). According to the Department’s first
         denial letter, the “focus of the operational test is on the
         prohibition against private benefit and private inurement,”
         with the “private benefit” inquiry focusing on “the primary
         activities of the organization” and the “private inurement”
         inquiry focusing on the “distribution of earnings.” The
         Department stated that, “[a]lthough there is significant
         overlap in the analysis of prohibited substantial private
         benefit under the primary activities test and private
         inurement under the distribution of earnings test, the
         prohibition on private benefit encompasses a greater range
         of activities” (footnote omitted).           “Unlike private
         inurement,” the Department explained, “private benefit does
         not necessarily involve the flow of funds from an exempt
         organization to a related private party[;] it can also include
         other benefits from the activities of the exempt organization
         to an unrelated party” (emphasis omitted).
ase 2:21-cv-00177-SRB      Document 110-1         Filed 12/31/24      Page 10 of
         10          GRAND CANYON UNIVERSITY V. CARDONA


             Turning to GCU’s case, the Department concluded that
         the “primary purpose” of the GCE-Gazelle transaction “was
         to drive shareholder value for GCE.” The Department based
         this conclusion on the purportedly disproportionate 60%
         share of GCU’s revenues to which GCE was entitled under
         the transaction, which included revenue from operations to
         which GCE was not obligated to “provide[]” any “services”
         under the MSA. The Department also found that, when
         taking into account payments on the loan under the Credit
         Agreement, GCE would be “receiving approximately 95%”
         of the university’s revenues. “[E]qually concerning” to the
         Department was its view that GCU was a “captive client”
         under the transaction, given the initial seven-year term of the
         MSA and the substantial financial payment that the
         university would have to make in order to terminate the
         agreement. The Department concluded that “GCU d[id] not
         meet the operational test’s requirement that both the primary
         activities of the organization and its stream of revenue
         benefit the nonprofit itself.” According to the Department,
         “[t]his violates the most basic tenet of nonprofit status—that
         the nonprofit be primarily operated for a tax-exempt purpose
         and not substantially for the benefit of any other person or
         entity.”
              The Department also stated, as “additional support” for
         its conclusion that GCU was not entitled to nonprofit status,
         that Gazelle was “not the entity actually operating” the
         university under the Department’s regulations.           See
         34 C.F.R. § 600.2 (stating that a HEA nonprofit must be
         “operated by one or more nonprofit corporations or
         associations”); 20 U.S.C. § 1003(13) (same).             The
         Department reasoned that the board “responsible for
         managing and overseeing the University” consisted
         predominantly of GCE employees. The Department also
ase 2:21-cv-00177-SRB      Document 110-1         Filed 12/31/24      Page 11 of
                     GRAND CANYON UNIVERSITY V. CARDONA              11


         found that Gazelle was not operating the university because,
         under the MSA, GCE was responsible for “marketing,
         enrollment services and budget consultations,” “curriculum
         services, accounting services,” “procurement services, audit
         services, human resources,” “faculty operations,” and other
         areas.
             As further “additional support” for its conclusion, the
         Department expressed concern that Brian Mueller, the CEO
         of GCE, also served as the President of GCU. While it
         acknowledged that the MSA “limit[s] Mr. Mueller’s direct
         involvement in the day[-]to[-]day oversight of [GCU’s]
         relationship with GCE,” the Department was “not satisfied
         that these structures are sufficient to ensure that Mr.
         Mueller’s undivided loyalty is to the Institution.”
             GCU requested reconsideration of the denial of its
         application and proposed an Amended and Restated Master
         Services Agreement (“ARMSA”) in an attempt to assuage
         some of the Department’s specific concerns about the
         transaction. Thus, for example, the ARMSA eliminated
         GCE’s control over curriculum services and faculty
         operations. It also eliminated GCE’s entitlement to share in
         GCU’s revenue from operations to which GCE did not
         provide any services. Instead GCE would be paid 66.8% of
         the tuition paid on behalf of students and fees received from
         students.
             By letter dated January 12, 2021, the Department
         reaffirmed its denial of nonprofit status to GCU. The
         Department reasoned that, “[a]lthough the revenue sharing
         percentages ha[d] changed somewhat under the ARMSA,”
         the transaction still retained “the basic structure whereby a
         substantial portion of GCU’s revenues benefits GCE.”
         “Based on the tax authority cited” in its earlier decision, the
ase 2:21-cv-00177-SRB       Document 110-1         Filed 12/31/24       Page 12 of
         12           GRAND CANYON UNIVERSITY V. CARDONA


         Department concluded that GCU still had not met “the
         requirement that both the primary activities of the
         organization and its stream of revenue benefit the nonprofit
         itself.”
             The Department acknowledged GCU’s argument that, in
         light of the elimination of GCE’s control over curriculum
         and faculty, the Department should revisit its earlier
         conclusion that Gazelle was not actually “operating” GCU.
         But the Department expressly declined to decide that issue:
         “Given the Department’s conclusion in this reconsideration
         determination that the continued revenue stream under the
         ARMSA (if executed) would prevent the Department from
         approving GCU’s requested conversion to nonprofit status,
         there is no need for the Department to re-examine this issue.”
         The Department also stated that it continued to believe that
         Mueller’s “dual roles” as GCE’s CEO and GCU’s President
         were a “concerning factor.”
                                        C
             GCU then filed suit against the Department and its
         Secretary, Miguel Cardona, under the APA, which provides
         that a “reviewing court” shall “hold unlawful and set aside
         agency action[] . . . found to be . . . arbitrary, capricious, an
         abuse of discretion, or otherwise not in accordance with
         law.” 5 U.S.C. § 706(2)(A). The district court granted
         summary judgment to the Defendants (whom we will refer
         to collectively as “the Department”), holding that the
         Department’s decisions were not arbitrary and capricious or
ase 2:21-cv-00177-SRB       Document 110-1           Filed 12/31/24        Page 13 of
                      GRAND CANYON UNIVERSITY V. CARDONA                  13


         contrary to law. 4 GCU timely appealed, and we have
         jurisdiction under 28 U.S.C. § 1291.
                                         II
            We review the district court’s grant of summary
         judgment to the Department de novo. Donell v. Kowell, 533
         F.3d 762, 769 (9th Cir. 2008). “De novo review of a district
         court judgment concerning a decision of an administrative
         agency means th[is] court views the case from the same
         position as the district court.” Corrigan v. Haaland, 12 F.4th
         901, 906 (9th Cir. 2021) (citation omitted).
             We review de novo whether the Department correctly
         construed the HEA. Loper Bright Enterprises v. Raimondo,
         144 S. Ct. 2244, 2261, 2273 (2024). If the Department
         construed the law correctly, we then review its application
         of the law to the facts of the case under the APA’s deferential
         standards. Under the “arbitrary and capricious” standard,
         “[o]ur only task is to determine whether the [Department]
         has considered the relevant factors and articulated a rational
         connection between the facts found and the choice made.”
         Baltimore Gas & Elec. Co. v. Natural Res. Def. Council,
         Inc., 462 U.S. 87, 105 (1983). We review the factual
         findings underlying the agency’s decision for substantial
         evidence. See Center for Cmty. Action & Env’t Just. v. FAA,
         18 F.4th 592, 598 (9th Cir. 2021). That means that we must
         uphold such findings if “a reasonable mind might accept
         [this] particular evidentiary record as adequate to support
         [the agency’s] conclusion.” Dickinson v. Zurko, 527 U.S.
         150, 162 (1999) (simplified).

         4
            The district court also rejected GCU’s separate claim that the
         Department violated the First Amendment when it prohibited GCU
         “from holding itself out to the public as a nonprofit.” GCU does not
         challenge that conclusion on appeal.
ase 2:21-cv-00177-SRB         Document 110-1            Filed 12/31/24         Page 14 of
         14            GRAND CANYON UNIVERSITY V. CARDONA


                                           III
             We conclude that the Department applied the wrong
         legal standards in evaluating GCU’s application.
                                           A
             As noted earlier, § 103 of the HEA defines “[t]he term
         ‘nonprofit[,]’ as applied to a school, agency, organization, or
         institution,” to “mean[] a school, agency, organization, or
         institution owned and operated by one or more nonprofit
         corporations or associations, no part of the net earnings of
         which inures, or may lawfully inure, to the benefit of any
         private shareholder or individual.” 20 U.S.C. § 1003(13).
         We also noted above that the Department’s corresponding
         regulatory definition of “[n]onprofit institution”
         incorporates, in slightly paraphrased form, that statutory
         definition, and it adds two further requirements: (1) the
         institution must be “authorized to operate as a nonprofit
         organization” in the relevant States; and (2) the institution
         must be “determined by the U.S. Internal Revenue Service”
         to be a § 501(c)(3) organization. 34 C.F.R. § 600.2. The
         Department specifically determined that those two
         additional requirements were met here, 5 and so the only
         remaining issue is whether the HEA’s statutory definition of
         a “nonprofit” institution was satisfied.
             In addressing that “remaining” issue of whether the
         HEA’s statutory definition was met, the Department started
         from the assumption that this definition “mirrors the
         statutory language for tax exempt organizations found in 26


         5
          Accordingly, we have no occasion to address whether the Department’s
         addition of these two further requirements is inconsistent with the HEA.
         We express no view on that question.
ase 2:21-cv-00177-SRB       Document 110-1           Filed 12/31/24     Page 15 of
                      GRAND CANYON UNIVERSITY V. CARDONA               15


         U.S.C. § 501(c)(3).” That assumption was incorrect, as a
         comparison of the relevant statutory texts confirms.
             As relevant here, the IRC describes the “educational”
         institutions that are eligible for § 501(c)(3) status as follows:

                      Corporations . . . [1] organized and
                 operated exclusively for religious, charitable,
                 scientific, testing for public safety, literary, or
                 educational purposes, . . . [2] no part of the
                 net earnings of which inures to the benefit of
                 any private shareholder or individual, [3] no
                 substantial part of the activities of which is
                 carrying on propaganda, or otherwise
                 attempting, to influence legislation (except as
                 otherwise provided in subsection (h)), and
                 [4] which does not participate in, or intervene
                 in (including the publishing or distributing of
                 statements), any political campaign on behalf
                 of (or in opposition to) any candidate for
                 public office.

         26 U.S.C. § 501(c)(3) (bracketed numbers added) (emphasis
         added). Once again, the HEA defines a “nonprofit”
         educational institution to mean the following:

                 a school, agency, organization, or institution
                 [1] owned and operated by one or more
                 nonprofit corporations or associations, [2] no
                 part of the net earnings of which inures, or
                 may lawfully inure, to the benefit of any
                 private shareholder or individual.

         20 U.S.C. § 1003(13) (bracketed numbers added).
ase 2:21-cv-00177-SRB          Document 110-1               Filed 12/31/24           Page 16 of
         16             GRAND CANYON UNIVERSITY V. CARDONA


             The clauses we have marked as “[2]” in both statutes are
         very similar and impose, under both statutes, a requirement
         that “no part of the net earnings” of the organization may
         “inure[] to the benefit of any private shareholder or
         individual.” The third and fourth clauses of the § 501(c)(3)
         definition, however, have no counterpart in HEA
         § 103(13)’s definition. As to the first clauses, the wording
         is very different. Section 501(c)(3) requires that the
         institution be “organized and operated exclusively” for
         “educational” and other specified “purposes,” 26 U.S.C.
         § 501(c)(3), whereas HEA § 103(13) requires only that the
         institution be “owned and operated by one or more nonprofit
         corporations or associations,” 20 U.S.C. § 1003(13). We
         note, however, that satisfying this latter definition of
         “nonprofit” does not suffice to render the institution eligible
         to participate in Title IV, because § 101(a) of the HEA
         imposes several additional requirements to ensure that the
         institution in fact operates as an “institution of higher
         education.” Id. § 1001(a). 6

         6
          Specifically, for a nonprofit institution to participate in Title IV, it must
         show that it:
                  (1) admits as regular students only persons having a
                  certificate of graduation from a school providing
                  secondary education, or the recognized equivalent of
                  such a certificate, or persons who meet the
                  requirements of section 1091(d) of this title;
                  (2) is legally authorized within such State to provide a
                  program of education beyond secondary education;
                  (3) provides an educational program for which the
                  institution awards a bachelor’s degree or provides not
                  less than a 2-year program that is acceptable for full
                  credit toward such a degree, or awards a degree that is
ase 2:21-cv-00177-SRB         Document 110-1              Filed 12/31/24        Page 17 of
                       GRAND CANYON UNIVERSITY V. CARDONA                      17


             The HEA thus does not replicate § 501(c)(3)’s
         requirement that the institution be “organized and operated
         exclusively” for “educational purposes”; instead, it ensures
         the nonprofit educational status of the institution by stating
         that the institution must meet the educational operation
         requirements in § 101(a) and that it must be “owned and
         operated by one or more nonprofit corporations or
         associations,” 20 U.S.C. § 1003(13). Particularly in light of
         the near-verbatim copying of clause [2] of IRC § 501(c)(3)
         into clause [2] of HEA § 103(13), the obvious differences in
         the remainder of the respective definitions must be deemed
         to be deliberate and to signify that, in those remaining
         respects, the statutes do not apply identical standards. See
         United States v. Olmos-Esparza, 484 F.3d 1111, 1114 (9th
         Cir. 2007) (“[W]hen some statutory provisions expressly
         mention a requirement, the omission of that requirement
         from other statutory provisions implies that the drafter
                  acceptable for admission to a graduate or professional
                  degree program, subject to review and approval by the
                  Secretary;
                  (4) is a public or other nonprofit institution; and
                  (5) is accredited by a nationally recognized accrediting
                  agency or association, or if not so accredited, is an
                  institution that has been granted preaccreditation
                  status by such an agency or association that has been
                  recognized by the Secretary for the granting of
                  preaccreditation status, and the Secretary has
                  determined that there is satisfactory assurance that the
                  institution will meet the accreditation standards of
                  such an agency or association within a reasonable
                  time.
         20 U.S.C. § 1001(a). There is no dispute that GCU satisfies
         requirements (1), (2), (3), and (5) of this definition. The only question
         is whether it meets requirement (4), which turns on the definition of
         “nonprofit” in HEA § 103(13).
ase 2:21-cv-00177-SRB      Document 110-1        Filed 12/31/24      Page 18 of
         18          GRAND CANYON UNIVERSITY V. CARDONA


         intended the inclusion of the requirement in some instances
         but not others.”); see also Prewett v. Weems, 749 F.3d 454,
         461 (6th Cir. 2014) (“Omitting a phrase from one statute that
         Congress has used in another statute with a similar purpose
         ‘virtually commands the . . . inference’ that the two have
         different meanings.” (quoting United States v. Ressam, 553
         U.S. 272, 277 (2008))).
             The resulting differences in the statutory requirements
         are significant here, because the portions of the IRS
         regulations on which the Department relied in determining
         that GCU was not a “nonprofit” construe the language of
         § 501(c)(3) that is missing from HEA § 103(13). The
         Department applied the “organizational test” and the
         “operational test” of 26 C.F.R. § 1.501(c)(3)-1, and that
         regulation makes clear that those two tests implement what
         the regulation describes as § 501(c)(3)’s requirement that the
         “organization must be both organized and operated
         exclusively for one or more of the purposes specified in such
         section.” 26 C.F.R. § 1.501(c)(3)-1(a)(1) (emphasis added).
         Those tests thus implement the requirement of what we
         identified as clause [1] of § 501(c)(3)—which is language
         that is omitted from HEA § 103(13).
             The IRS regulation discussing the organizational and
         operational tests mentions, as an aspect of the operational
         test, that an organization does not qualify for § 501(c)(3)
         status “if its net earnings inure in whole or in part to the
         benefit of private shareholders or individuals.” 26 C.F.R.
         § 1.501(c)(3)-1(c)(2). That corresponds to the statutory
         requirement in what we have identified as clause [2] of
         § 501(c)(3) and that is replicated in HEA § 103(13). See 26
         U.S.C. § 501(c)(3); see also 20 U.S.C. § 1003(13). In that
         sense, the IRS regulations fold the no-inurement
         requirement of clause [2] of § 501(c)(3) into the requirement
ase 2:21-cv-00177-SRB      Document 110-1         Filed 12/31/24      Page 19 of
                     GRAND CANYON UNIVERSITY V. CARDONA              19


         of clause [1] of § 501(c)(3) that the organization must be
         “organized and operated exclusively” for “educational
         purposes.” 26 U.S.C. § 501(c)(3). But as the Department
         itself recognized in its ruling in this matter, the converse is
         not true—i.e., the no-inurement test does not subsume the
         organized-and-operated-exclusively test. The Department’s
         letter quoted the following statement from the Tax Court:

                    [W]hile the private inurement prohibition
                may arguably be subsumed within the private
                benefit analysis of the operational test, the
                reverse is not true. Accordingly, when the
                Court concludes that no prohibited inurement
                of earnings exists, it cannot stop there but
                must inquire further and determine whether a
                prohibited private benefit is conferred.

         American Campaign Acad. v. Comm’r, 92 T.C. 1053, 1068–
         69 (1989); see also id. at 1068 (“The absence of private
         inurement of earnings to the benefit of a private shareholder
         or individual does not, however, establish that an
         organization is operated exclusively for exempt purposes.”).
             The Department thus invoked the wrong legal standards
         by relying on IRS regulations that impose requirements that
         go well beyond the HEA’s requirements and that instead
         implement a portion of § 501(c)(3) that has no counterpart
         in HEA § 103(13).
                                       B
             The Department’s legal error requires that its decisions
         be set aside. As we have explained, the correct HEA
         standards required the Department to determine (1) whether
         GCU was “owned and operated” by a nonprofit corporation;
ase 2:21-cv-00177-SRB      Document 110-1         Filed 12/31/24      Page 20 of
         20          GRAND CANYON UNIVERSITY V. CARDONA


         and (2) whether GCU satisfied the no-inurement
         requirement. The Department failed to apply these standards
         in denying GCU’s requests.
             In its first decision denying GCU’s request, the
         Department conceded that GCU was “owned” by a
         “nonprofit corporation,” as required by HEA § 103(13).
         However, in then turning to the question of “whether GCU
         is operated by a nonprofit,” the Department applied the
         IRS’s operational test, which implements § 501(c)(3)’s
         requirement that the entity be “operated exclusively” for
         “educational purposes” or other listed purposes. 26 U.S.C.
         § 501(c)(3) (emphasis added). But, as we have explained,
         the HEA does not require that the institution be “operated
         exclusively” for “educational purposes.” It ensures the
         educational nature of the institution through a series of
         distinct operational requirements (none of which are at issue
         here), see 20 U.S.C. § 1001(a), and beyond that it only
         requires that the institution be “operated by one or more
         nonprofit corporations or associations,” id. § 1003(13).
             Although the Department’s first letter concluded that
         Gazelle (the relevant nonprofit corporation) “is not the entity
         actually operating” GCU, it is not clear to what extent that
         determination was completely independent of the
         Department’s erroneous application of the IRS’s
         “operational test.” See National Fuel Gas Supply Corp. v.
         FERC, 468 F.3d 831, 839 (D.C. Cir. 2006) (stating that,
         where an agency’s multiple rationales are not clearly
         alternative and independent and “at least one of the
         rationales is deficient, [the court] will ordinarily vacate the
         order unless” the court is “certain that [the agency] would
         have adopted it even absent the flawed rationale”).
         Moreover, in its subsequent letter denying reconsideration,
         the Department clearly abandoned any reliance on this
ase 2:21-cv-00177-SRB         Document 110-1             Filed 12/31/24          Page 21 of
                       GRAND CANYON UNIVERSITY V. CARDONA                       21


         earlier determination, because it expressly declined to
         consider whether, in light of the changes made by the
         ARMSA, GCU now did meet the requirement that it be
         operated by a nonprofit, i.e., Gazelle. 7
             The Department also failed to apply HEA § 103(13)’s
         private inurement requirement. Instead, the Department
         applied the IRS’s “operational test,” under which it
         examined, not whether “net earnings” inured to private
         benefit, but whether “the primary activities of the
         organization and its stream of revenue” primarily benefit
         private parties.
             Because the Department failed to apply the correct legal
         standards, its decisions must be set aside. 8
                                            IV
            For the reasons stated above, the judgment of the district
         court is reversed, and the matter is remanded to the district
         court with instructions to set aside the Department’s denials
         and to remand to the Department for further proceedings
         consistent with this opinion.
             REVERSED AND REMANDED.



         7
           The Department’s decisions also fail to make clear what significance
         Mueller’s “dual roles” as the CEO of GCE and the President of GCU
         would have under the proper legal standards.
         8
           In light of our conclusion that this matter must be remanded to the
         Department for reconsideration, any questions as to the adequacy of the
         administrative record are moot. GCU’s arguments that supplementation
         of the record remains warranted even under this court’s decision in Blue
         Mountains Biodiversity Project v. Jeffries, 99 F.4th 438, 444–45 (9th Cir.
         2024), may be re-raised in the event of any future judicial review
         proceedings.
